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                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA




                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA


    UNITED STATES OF AMERICA                 }
                                             }
        v.                                   }
                                             }
    RODNEY DAVID RUSSELL,                    }   Case No.:
       Defendant.                            }   2:20-CR-293-MHH-SGC
                                             }
                                             }
                                             }


                            MEMORANDUM OPINION

       The Court seldom writes opinions regarding the criminal sentences that it

imposes, but this case warrants a written opinion. Mr. Russell is a drug addict, and

his addiction led him to commit a serious crime. To fund his addiction, Mr. Russell

agreed to help distribute methamphetamine. Over the course of approximately three

months, Mr. Russell bought and re-sold between one pound and two kilograms of

methamphetamine weekly, no doubt feeding other individuals’ drug addictions.

(PSR, pp. 7–9; Doc. 184, pp. 14–16). 1               A total of four kilograms of

methamphetamine were attributed to Mr. Russell for his role in the drug distribution

conspiracy. (PSR, p. 12).



1
  The conspiracy among several defendants lasted longer than three months; Mr. Russell was
involved in the conspiracy for no more than three months. (Doc. 184, pp. 14-16).
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      After Mr. Russell’s arrest on November 10, 2020, (Docket Entry, Nov. 10,

2020), Magistrate Judge Cornelius detained Mr. Russell, (Docs. 17, 21). A few days

later, Mr. Russell asked Judge Cornelius to consider releasing him to CareCenter

Ministries to enter a 12-month treatment program. (Docs. 29, 29-1). On November

24, 2020, Judge Cornelius released Mr. Russell to the custody of the CareCenter.

(Doc. 32, p. 2). Three months later, Mr. Russell pleaded guilty to conspiracy to

distribute methamphetamine. (Docket Entry, Feb. 24, 2022).

      The Court began Mr. Russell’s sentencing hearing on January 19, 2022.

(Docket Entry, Jan. 19, 2022). Before the hearing, Mr. Russell submitted a letter

from the Director of the CareCenter. (Doc. 113-1, pp. 1–3). The director explained

that Mr. Russell had graduated from the center’s first-year program and that Mr.

Russell was eligible for a two-year leadership academy.          (Doc. 113-1, p. 1).

Volunteers at the center wrote letters to the Court describing Mr. Russell’s efforts to

help other residents of the center overcome their addictions and obtain important

skills like reading. (Doc. 113-1). Several of the individuals who wrote letters for

Mr. Russell spoke on his behalf at his sentencing hearing. (Doc. 184). At the

conclusion of the hearing, the Court postponed sentencing to allow more time to

consider Mr. Russell’s request for a significant departure from his guideline range

of 108–135 months. (Doc. 113; Doc. 184, pp. 16–18).

      The sentencing hearing resumed on September 27, 2022. (Doc. 185). Once


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again, the director of the CareCenter spoke for Mr. Russell. The director provided

a letter that described Mr. Russell’s leadership role at the Center and explained that

Mr. Russell was responsible for administering random drug tests to the center’s

residents. (Doc. 185, pp. 5–6). In short, in just under two years, Mr. Russell

graduated from center resident to center leader.

      The United States acknowledged Mr. Russell’s accomplishments and asked

the Court to impose a 65-month sentence. (Doc. 184, p. 13; Doc. 185, p. 8). The

United States argued that Mr. Russell needs consequences to help him avoid relapse

and to punish him for the lives he harmed by distributing methamphetamine. (Doc.

185, p. 8). The United States asserted its belief in the BOP and “what it [would] be

able to do for Mr. Russell.” (Doc. 185, p. 9).

      Based on its consideration of the sentencing factors in 18 U.S.C. § 3553(a),

the Court imposed a sentence of time served and five years of supervised release.

(Doc. 185, p. 9). The sentence is a substantial departure from Mr. Russell’s guideline

range and from the reduced sentence that the United States proposed, but the Court

finds that the sentence is “sufficient, but not greater than necessary, to comply with

the purposes” of sentencing set forth in § 3553(a)(2).

      The sentence provides Mr. Russell with needed drug treatment, correctional

treatment, and vocational training in the most effective manner. 18 U.S.C. §

3553(a)(2)(D). Through his association with the CareCenter over the past two years,


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Mr. Russell has attained and maintained sobriety, found a vocation to which he has

devoted himself, and gained a mentor who “gets on to [him] pretty strong.” (Doc.

185, p. 7). Since he began using illegal drugs in 1996, Mr. Russell has had only one

other significant period of sobriety. (PSR, pp. 17–18). Mr. Russell’s work with the

CareCenter greatly enhances his ability to steer clear of illegal substances and

provides the necessary structure to allow Mr. Russell to continue his recovery.

Incarceration in the BOP does not. In the BOP, Mr. Russell likely would have access

to illegal substances, and the BOP’s drug treatment programs cannot rival the

intensive, consistent treatment and supervision that Mr. Russell has through the

CareCenter. 2

       As noted, Mr. Russell’s criminal conduct is a product of his drug use, so his

ability to refrain from using drugs goes hand-in-hand with the sentence’s ability to



2
  U.S. v. Janczewski, 560 F. Supp. 3d 1064, 1067 (E.D. Mich. 2021) (“Since the pandemic began,
people whose crimes were fueled by addiction have had even less access to rehabilitative
programs, including drug treatment, than normal. Drugs, on the other hand, have remained readily
available, despite severe limitations on outside access to BOP facilities. And even though the First
Step Act directed the BOP to expand access to Medication Assisted Treatment (“MAT”) for people
addicted to opioids, only 268 people—less than two percent of the more than 15,000 the BOP
estimates are eligible—are currently enrolled in the MAT Program.”); U.S. v. Walker, 252 F. Supp.
3d 1269, 1299 (D. Utah 2017), aff’d, 918 F.3d 1134 (10th Cir. 2019) (“Mr. Walker’s continued
rehabilitation will be more supported by a sentence of probation than incarceration at this time.
Incarceration could not provide Mr. Walker with needed educational or vocational training or other
treatment that would be more effective than that he has already undertaken. Moreover, probation
will allow Mr. Walker to continue and to strengthen his recovery in the most effective manner.”);
see also Overton v. Bazzetta, 539 U.S. 126, 134 (2003) (stating, in dicta, that “[d]rug smuggling
and drug use in prison are intractable problems.”).



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protect the public from future crimes that Mr. Russell might commit. 18 U.S.C. §

3553(a)(2)(C). If history is an indicator, then successful drug treatment in the most

effective manner will preclude future criminal conduct by Mr. Russell. Mr. Russell

has no prior felony convictions; he has a criminal history score of zero. His criminal

history consists of a municipal court conviction for driving under the influence when

he was 21 years old; he is now 45. (PSR, pp. 3, 14); 3 see United States Sentencing

Commission, Recidivism of Federal Drug Trafficking Offenders Released in 2010,

p.              55,            https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/research-publications/2022/20220112_Recidivism-Drugs.pdf                        (last

visited Nov. 23, 2022) (“[T]he two indicators most clearly correlated with recidivism

among drug trafficking offenders were criminal history and age. Generally, as

offenders’ criminal history points increased, the recidivism rate likewise increased,”

and the older the offender, the lower the rearrest rate.); see also U.S. Department of

Justice, National Institute of Justice, Five Things about Deterrence,                       p. 2,

https://www.ojp.gov/pdffiles1/nij/247350.pdf             (last   visited   Nov.       23,   2022)

(explaining that data shows “a steep decline” in criminal behavior “at about age

35”). 4 Generally, methamphetamine trafficking offenders with sentences ranging



3
    Mr. Russell has two other arrests. Both cases were dismissed. (PSR, pp. 14-15).
4
  Mr. Russell is working to complete a degree in theology. (PSR, p. 18, ¶ 82). A college degree
is predictive of significantly lower rates of rearrest. United States Sentencing Commission,
Recidivism of Federal Drug Trafficking Offenders Released in 2010, p. 112,
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from five to ten years have a higher rate of rearrest, though by a relatively small

margin, than offenders sentenced to fewer than six months in prison. United States

Sentencing Commission, Recidivism of Federal Drug Trafficking Offenders

Released in 2010, p. 113, https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/research-publications/2022/20220112_Recidivism-Drugs.pdf                          (last

visited Nov. 23, 2022).

       True, a sentence of substantial incarceration would reflect the seriousness of

the offense and provide just punishment for the offense, 18 U.S.C. § 3553(a)(2)(A),

but the cost of the punishment would be remarkably high. A 67-month sentence

would cost taxpayers approximately $200,000, (PSR, p. 22, ¶ 101), and would

provide taxpayers no meaningful benefit. Five plus years in prison would not deter

criminal conduct because Mr. Russell has no incentive for criminal conduct while

he is sober, and his sobriety is a condition of his continued association with the

CareCenter and his court supervision.5 In fact, given the availability of drugs in


https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research
publications/2022/20220112_Recidivism-Drugs.pdf (last visited Nov. 23, 2022).
5
  In May of 2016, the National Institute of Justice wrote: “Sending an individual convicted of a
crime to prison isn’t a very effective way to deter crime. Prisons are good for punishing criminals
and keeping them off the street, but prison sentences (particularly long sentences) are unlikely to
deter future crime.” U.S. Department of Justice, National Institute of Justice, Five Things about
Deterrence, https://www.ojp.gov/pdffiles1/nij/247350.pdf (last visited Nov. 23, 2022). The
National Institute of Justice “provides objective and independent knowledge and tools to inform
the decision-making of the criminal justice community to reduce crime and advance justice,
particularly at state and local levels.” National Institute of Justice, Mission and Guiding
Principles, https://nij.ojp.gov/about/national-institute-justice-mission-and-guiding-principles (last
visited Nov. 23, 2022).
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prison, the stressors attendant to imprisonment, and the absence of robust treatment

programs in prisons, incarceration for the sake of punishment alone serves only to

make the public more, not less, vulnerable to future crimes that Mr. Russell might

commit if he relapsed. 18 U.S.C. § 3553(a)(2)(C); see U.S. v. Rodriguez, 724 F.

Supp. 1118, 1119 (S.D.N.Y. 1989) (“The rehabilitation of a drug addict by his act

of will is no mean accomplishment . . . . The imposition of a year’s jail sentence

would serve no end, but ritualistic punishment with a high potential for destruction.

Indeed, putting the defendant in jail for a year would be the cause most likely to

undo his rehabilitation.”).

        Mr. Russell has incentives beyond his work at the CareCenter and his court

supervision to remain sober: 12-year-old twins and 9 and 5-year-old sons. (PSR, p.

16).    Since becoming sober at the CareCenter, Mr. Russell is rebuilding his

relationship with his children and spending significant time with them. (Doc. 184,

p. 10; Doc. 185, p. 7). He understands that a return to old habits would jeopardize

those important relationships.

        In sum, in imposing a sentence, the Court considered Mr. Russell’s progress

over his two years at CareCenter, his service to the community as a leader at

CareCenter, his most effective means of drug treatment, and the best way to protect

the public from future criminal conduct on Mr. Russell’s part. The Court considered

the seriousness of the offense but noted Mr. Russell’s effort to turn his life around


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and the potential for regression if Mr. Russell leaves his current position for a lengthy

period of imprisonment. Though Mr. Russell’s sentence creates a mathematical

disparity in relation to the sentences for other defendants in this case, Mr. Russell’s

sentence is comparable to other sentences the Court has imposed for defendants like

Mr. Russell who have successfully undertaken rehabilitation efforts.

      For these reasons, the Court concludes that a sentence of time-served and five

years of supervised release is sufficient but not greater than necessary to serve the

statutory purposes of sentencing.

      DONE and ORDERED this November 23, 2022.


                                      _________________________________
                                      MADELINE HUGHES HAIKALA
                                      UNITED STATES DISTRICT JUDGE




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